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                                                                        Honorable James L. Robart




                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE

  ROTHSCHILD BROADCAST                                 Civil Action No. 22-cv-771JLR
  DISTRIBUTION SYSTEMS, LLC,
                                                       STIPULATED MOTION TO SET ASIDE
                                Plaintiff,             DEFAULT AND EXTEND TIME TO
                                                       RESPOND TO COMPLAINT
              v.

  CREATIVELIVE, INC.,
                                                       NOTE ON MOTION CALENDAR:
                                Defendant.             July 11, 2022

           Plaintiff      ROTHSCHILD         BROADCAST     DISTRIBUTION         SYSTEMS,       LLC

(“Rothschild”) and Defendant CREATIVELIVE, INC. (“CreativeLive”), hereby stipulate as

follows:

           Rothschild filed a Complaint against CreativeLive alleging patent infringement on June 2,
2022 (Dkt. 1), and served it upon CT Corporation System (“CT Corporation”), registered agent

for CreativeLive, on June 7, 2022.

           CreativeLive has represented that after being served with the summons and complaint on

June 7, 2022, CT Corporation sent a copy of the summons and complaint via email to the outdated

contact information of a former employee of CreativeLive, which was never received, and mailed

a copy of the complaint to CreativeLive via UPS, but the package, to date, was never delivered to




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CreativeLive’s corporate offices. Accordingly, CreativeLive states that it never received the served

summons and complaint from CT Corporation.

           Rothschild filed proof of service on July 1, 2022 indicating that service of the complaint

and summons in this matter on CT Corporation occurred on June 7, 2022 (Dkt. 8), and sought

entry of default against CreativeLive the same day, which was entered on July 5, 2022 (Dkt. 11).

           CreativeLive states that it first learned it had been served and of the entry of default on

July 6, 2022, and immediately contacted Rothschild. CreativeLive states that it received for the

first time an electronic copy of the summons from CT Corporation on July 7, 2022.

           Rothschild lacks sufficient information to take a position on CreativeLive’s foregoing

statements. The Parties wish to cooperate in setting aside the default and providing a period of

time for CreativeLive to evaluate the Rothschild complaint and respond to it. Accordingly,

pursuant to Fed. R. Civ. P. 55(c), the Parties respectfully request that the Court:

           1.        Set aside the default against CreativeLive; and

           2.        Grant CreativeLive an extension until July 28, 2022 to respond to Rothschild’s

complaint.




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RESPECTFULLY SUBMITTED July 11, 2022.

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                                              ORDER

           Stipulation approved and so ordered.

DATED this ___ day of _______________ 2022.

                                                  _________________________________
                                                  United States District Judge




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